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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    :
                                            :
               v.                           :       Case No. 21-cr-469
                                            :       Chief Judge Beryl A. Howell
BRIAN CHRISTOPHER MOCK,                     :
                                            :
                      Defendant.            :


            GOVERNMENT’S NOTICE OF FILING OF EXHIBITS PURSUANT
                       TO LOCAL CRIMINAL RULE 49

       The United States hereby gives notice, pursuant to Local Criminal Rule 49, of the following

exhibits that were provided to the Court and all counsel in relation to Government’s Emergency

Motion to Stay and for Review of the Release Order (ECF No. 6) and the Government’s Reply

(ECF No. 13). For ease of reference, the government labeled the exhibits with the same exhibit

numbers as Mock’s initial detention hearing in Minnesota. The exhibits are as follows:

       1.      Government Exhibit A referenced in its Response (ECF No. 13) was provided to

the Court and opposing counsel via USAfx on June 18, 2021. Government Exhibit A is a clip from

the body-worn camera of Metropolitan Police Department (MPD) officer C.W. and is

approximately 45 seconds in length. The events depicted in Exhibit A occurred at approximately

2:29 p.m. on January 6, 2021.

       2.      Government Exhibits B, C, and D, referenced in its Motion (ECF No. 6), were

provided to the Court and opposing counsel via USAfx on June 20, 2021. Government Exhibits B,

C, and D are screenshots from Officer C.W.’s body-worn camera clip (Exhibit A). Each one is

time-stamped approximately 2:29 p.m. on January 6, 2021.

       3.      Government Exhibit E referenced in its Response (ECF No. 13) was provided to

the Court and opposing counsel via USAfx on June 18, 2021. Government’s Exhibit E is a clip


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from the body-worn camera of MPD Officer H.F. and is approximately 58 seconds in length. The

events depicted in Exhibit E occurred at approximately 2:34 p.m. on January 6, 2021.

       4.      Government Exhibits F, G, H, and I, referenced in its Motion (ECF No. 6), were

provided to the Court and defense counsel via USAfx on June 20, 2021. Government Exhibits F,

G, H, and I are screenshots from Officer H.F.’s body-worn camera clip (Exhibit E). Each one is

time-stamped approximately 2:34 p.m. on January 6, 2021.

       5.      Government Exhibit J, referenced in its Statement of Facts, is a public posting by

the FBI on April 5, 2021, and re-posted by the private page “Sedition Hunters.” It was provided to

the Court and defense counsel via USAfx on June 20, 2021.

       6.      Government Exhibits J, K, L, M, N, O, P, and Q are screenshots of social media

postings by defendant Brian Mock and the woman who accompanied him to the Capitol. Each of

these screenshots were provided by a tipster. It is the government’s understanding that these posts

were posted on or around January 6, 2021. The screenshots were captured by the tipsters on various

dates between January and May 2021. These exhibits were provided to the Court and defense

counsel via USAfx on June 20, 2021.

       7.      Government Exhibits R, S, and T, references in its Motion (ECF No. 6), are

excerpts taken from defendant Mock’s Facebook returns that the FBI received pursuant to a search

warrant. Exhibit R was posted on January 2, 2021. The posts in Exhibit S were posted on January

3, 2021. Exhibit T was posted on January 8, 2021. These exhibits were provided to the Court and

defense counsel via USAfx on June 20, 2021.




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                                      Respectfully submitted,

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                                      DC Bar No. 415793

                                      s/Amanda Jawad
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I HEREBY CERTIFY that I filed the foregoing
pleading electronically through the CM/ECF system
which caused the parties or counsel of record to be
served by electronic means, as reflected on the Notice
of Electronic Filing, and other methods of service as
indicated therein on June 20, 2021


s/Amanda Jawad
Amanda Jawad
Assistant United States Attorney




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